                                                                                 Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 1 of 38



                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: 4980PCS Stickers(60 Sheet) Smiley face Stickers and Star Stickers (Random six Styles) Teachers, Children and Parents' Reward Stickers, Children's Handmade Scrapbook Decoration : Toys & Games

   URL
   https://www.amazon.com/Stickers-Teachers-Childrens-Scrapbook-Decoration/dp/B08JLPTQX2/ref=sr_1_2_sspa

   Collection Date
   Thu, 20 Apr 2023 07:19:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ADpJCRNujli6RfpYyUUIZOIR1qYEhxvv6k7FSClQQD2oRavuHocfZ4M0ymGC4HvD7gpiS/jhgaX8QioT8p6L4x6sMLSxVVgCTvbgxJurdwQRcHMoFDT41fQdGKjaJbyO46vSGv+O3PRZgZo2Ul+vgQLTsLdTCJVZWNUdQ3UOAMQ=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Teachers-Childrens-Scrapbook-Decoration[fs]dp[fs]B08JLPTQX2[fs]ref=sr_1_2_sspa]]_Thu,-20-Apr-2023-07-19-35-GMT.pdf

   Hash (SHA256)
   a34eb1aa1c110dcd4c09b12ce55de0149b04fa465c0379245f3d7d5fc500eaa7

   Signature (PKCS#1v1.5)
CzwcHLsxXPRfU1XruZ5/oYRauJtBuJcxh/1mEQ3GcC+gS364aBLepZKEWkjXJQ+D0hO96/ZZsEsYCOLZKgXCRl5WsNWnsUk0Lpvf1nn5nI2ZHTF7eRVfkAUmhp/GoZ0T8lVmk5WpufhgL739LCMTOdgQWhIJ2sO9jiQGpYvEoFE=
                                                                                  Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 2 of 38



                                                                                                                                                                                                      Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 00:55:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZNyEaXW+M8vUCSG0vt6RQuW3Va3x0hQiQvpYJb3cJefUNemrYKsCnt7j+ayGef/SFEj+e2/qRFqRMYuydMgN47cDMpVs1OY8fwMlawC/TNbM05PUgnED5qOH1anUOJy+K3SKfGU64y16JqZ+af/Vkm+5G
   +A1BKintqu0DAhdcwsKlnsTzaebM3vgGvNd6i8nUhzb1fEKfFpvUEVImvoICvMR53BSxPkP5mTNOihTZqI6Q4g/j2pH3cihmQ303QK/GZDrtFYEYI/JILRMohe8TsbXRs+i8lqOh+Cuyaf+T8EeeJDg538mC+ItYozbMsU84AlT1KIjZp2JkIALr3eFMg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-00-55-40-GMT.mhtml

   Hash (SHA256)
   d34eac72cbedd979c190f7c64f79c05f04d9227bca433e126dc75ae1ffa5381b

   Signature (PKCS#1v1.5)
RXC+r3deSLvUSOE60qdZjjaJcdrUxjX7JH4tnBCRFMDA1PY096Fht9IrS+cfZHY7BtwXgfXLPFxOMu9j6ViuiJt5uatMu/W/qb2+OguHWrgqNv1aqFYNMc+84Prq/9/T0DcIsTdj4SJmn41pwHQb9mA1sQ+Wj68R/F7Xgis/kwFHqBBxRhyl0KNjwLkT7B2graE
+77syWB62fMGk8HsSoV7BOAFc92u9hjFkGYjzSu56KgiiuhyFflJZrbHMu8Xh8rSGWW7yNEQ5M3bdG3g92cw2/BauPsdVPYR+itTEFioK3qMJc9tLlbk2/ZIpQ81n7mG9eVitrq4qjba1OF69ig==
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 3 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Cool Funny Doodle Earrings for Women Silver Cute Handmade Smiley Face Statement Finger Dangle Drop Earrings Jewelry Best Friend Gift: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Doodle-Earrings-Handmade-Statement-Jewelry/dp/B0BXD91XB6/ref=sr_1_318

   Collection Date
   Thu, 20 Apr 2023 05:57:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   H5dSbcOLrvgs/uage7Q2p472yIbFKF5N6gGKwlGzhUCb8C/BIm8a6m35GsxPNkYrcW2rwiE9EmC7yUCsEJoKyODUjd8nwCFV1i98/a37CQJQfLDkZmOGPeTW+DNTm0M6sgmaVITzoNs/1LD9VjP0A9Khn8PkTW5QdaBeRjLyrvA=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Doodle-Earrings-Handmade-Statement-Jewelry[fs]dp[fs]B0BXD91XB6[fs]ref=sr_1_318]]_Thu,-20-Apr-2023-05-57-25-GMT.pdf

   Hash (SHA256)
   6607ddddfc6bcf222fb26183074f9d28e4af7210d160333b8625e32c59f2c081

   Signature (PKCS#1v1.5)
c2M+vrshpZ7lSg8Q95KtQknmftszPDcLfNdWPWblbxAQnBPT9pw3b2jiwfRT4KDHASfibTx782ZnP0rxWOIJcekU+EBfc3RYchtIq7tiZ9JO1+avV8ZUvPopHeF7FKYmZXkAmr4CMGrPN8PCcg/zAkd1q3wXez4krJjEZPgYzgQ=
                                                                                 Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 4 of 38



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 05:35:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BTg5GhZgztBkv4SP9SYxWSAO6e63Bz79+2VsWUzXSjRrRhX2JHIioBTDV6yzjBJ08xPD9i2gY39TgIq+5c3IBpN0lw/pmKx4FPU0D78Pi2YR+pYeZorChKZ2QxCn3ctOfXoVFZt8saScfd4htJhaBzX7ILN2I5Fs10GiqlkU5u4Limf1F4re4rjPtwNWxCuZUal3W63TlrCn1XYCkzdkP88dIRSa
   +o1GVIX8doDV6my0cCkY+tCgU3QON5ZvvoNZt57p50EhG9dLj24X4zX3HntMMGsE1JSf/RQlVJOGJr+bwHp6EpnxFeUj0rTKmYC2vA5rrfSTIdA8XTzd6DupWg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-05-35-35-GMT.mhtml

   Hash (SHA256)
   44702ad4f07ec5fc28e110f19613e01b88756668aa2fae91980f0c45eac506c6

   Signature (PKCS#1v1.5)
Z6OvwYhdJRi3s61ijakjCO1RFKddjCYhZhk1X8Xdt2mXgidNhfSHvDPhFMN8eGHmRKxA2DAHhuA56MhMkp5WCgsk1y/VsmUb/uwztdBBIx/6EqAGdDtVXDs3hUynGb+RlSws715SZlQhfG52SP/V+yTD1bjZPdDt2Wl+oXjwnkJj+goJMFcrMjLRhXIokMXrF5m3zqtoGzdQVbEB/
jONQl0AHGCaWkl3V3lEohvt7zK1HVlwsCI4PqXqDf0MV79FXuX7B8vE6jH9go+tiMH0STU4Mc1SR4YYkLY5GQRvAtDdzwoaBO+QJ069yPJTJQwLG8tilWDQGRQc1hpb4ElVoA==
                                                                                   Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 5 of 38



                                                                                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: rafamau Smiley Face Girl Case for iPhone 8 Plus/7 Plus, Cute Pretty Girly Phone Case for Teen Girls Women Aesthetic Smile Face Design Pattern Soft Silicone Slim Fit Protective Cover 5.5-inch (White) : Cell Phones & Accessories

   URL
   https://www.amazon.com/Aesthetic-Pattern-Silicone-Protective-5-5-inch/dp/B09XXWZQJK/ref=sr_1_98

   Collection Date
   Mon, 24 Apr 2023 09:29:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   K2WYfpLgPztU3627O9d51V3Rj1a6f2tplaeRmor1BHVFC9UFO0K1Ca2vEUXyAbVh1gwTRawopoMlsTLG1cm/YjVvbnC0Aaym81lqds0RN8fAVTYBxIHzcIw44SeRkHUDAhbUIiuzx6T8A3lVg4dbf4u/dnMqG9sJ16M/lu7rEMA=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Aesthetic-Pattern-Silicone-Protective-5-5-inch[fs]dp[fs]B09XXWZQJK[fs]ref=sr_1_98]]_Mon,-24-Apr-2023-09-29-32-GMT.pdf

   Hash (SHA256)
   e117bb446fcb78e997641513e4fb78e2baa334d1a053b743e804b183724411ed

   Signature (PKCS#1v1.5)
RK5vhv5GipLwyhwmLdYRNGAHrSkTo6XsxMbK/IEnVGlgk0bo60jSM4qKxT+RlNOYLcwxK5D2RBMWK6de65YmHIncRRa58IY2pPXGQh2eWfqnxI+qGMLYeG7ai37QaYIphKCX2aIZkAfn0grU7FOMcNE3GWE6hN7uQaCS4KOPWdY=
                                                                                 Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 6 of 38



                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 27 May 2023 01:35:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JjLNQLG5iqyI7H71ylelZvc6z+FGVPqpz1tsB1tBRK61p9Q6AYvaPT8u1qJAwdktTgYfHFhNl062cXSM9TsxVtH8Krp20zaqUZnK8DsqRKegPkShCt+fTZDTjEn7pfGi2vhg/m1/km8STH19tCc3Kzf0bxNYI09R/w
   +zKfr2FC5D3EttbOyFA0wvDQll/5WjcE4dH3IwrJzpL4EEpAzinfIyYyRnNu0qpIj6p8QiBsI+2ruq9ZwvuuUhsBmeLT21WQ1F/oWxdGBt0AB+vJ4LmXgKtgRjtet7FwvUd4rObiNDUxmRFXPVyhKxAHuBqIB+147NMfXnn0VUNRrP9AOjGQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-27-May-2023-01-35-53-GMT.mhtml

   Hash (SHA256)
   ba9a11248a5375cb7849e9db6eb4d0d32f32006e849dc355af0516d34e8e4fdb

   Signature (PKCS#1v1.5)
C7xON54UZp6GJ9K5rCNK+lQZ2X5anXXc8jpS4yrHSIuJ5r+R/78fPqyQf2Xc4gJfFlNeI0Q94Qi0DCmLS730hQSpuUsbiXbmSI1X7SgHZa7BBX+K/2LtoWLAP/mz4b6qu42Yo60bpBLWApKMIMlYp1JcSS7Q7JDttw8n/TfdDz/9vTFAZm7o/
N637t0QCrz7G6NSNtllJxB0JP4KrJs44vZhKWNMKyAWi7jQyvK7QFhpON4nL4h+l2GBoDMVIG5ZnXZ7MtJwkqmtWX05K6fKQRcjoxLnpArETMi5dniV3MoPEbACVtw6kFEu9nEqcgcdRUaawnuzZ2BKrqtNBgjOzg==
                                                                                   Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 7 of 38



                                                                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Flower Smiley Nail Art Stickers Decals Cute Smile Flowers Face Nail Art Sticker 3D Self Adhesive DIY Design Fashion Trend Glamour Decoration Accessories for Ladies Girls Kids (2 Sheets) : Beauty & Personal Care

   URL
   https://www.amazon.com/Stickers-Flowers-Adhesive-Decoration-Accessories/dp/B0B3DNN9WH/ref=sr_1_105

   Collection Date
   Wed, 19 Apr 2023 10:12:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qQ1jmSM7QO45XAwFJXfLbzMHiF1slfMAGbXKriT0P2ofsoE1wzfMj19eZQsXD8wWbqTLlrAZd7+Y+gU013WheXRsm2a/oUoyr+Q7kicaSBsdY5tdTgDRfYrDAz7sRrp6PTkWvLdxPFwynhsD/DofhKPNt7kfTZerseyToziCZz8=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Flowers-Adhesive-Decoration-Accessories[fs]dp[fs]B0B3DNN9WH[fs]ref=sr_1_105]]_Wed,-19-Apr-2023-10-12-56-GMT.pdf

   Hash (SHA256)
   43265a47c6e3789731c053966a8d839b5d58ab4e0a40e685c3c261377c1b6832

   Signature (PKCS#1v1.5)
fuqbtEYvuk6BvugiQ4tov8XhEdGjzRVEqRhP2j9rNRVfHx6fVpO+B6SDc+Y0cnsbxDviRGjAx3TBWyupteGQfq23ZbvbkYRbZLFZpZ3ZqVuh+fk/sZGwx5munEwlf+4VEnsPi+F9JFA2xCGTr9ZBVzlXWYy4rqQeQAXTGdWKrmw=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 8 of 38



                                                                                                                                                                                                               Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 08:23:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lHRGBCHeepIbL+Y0CoYAHC9BWItvBz2Xljy7ZOJDGtOlCVfJDTTZwEv+s35kLLnW4fHSBY5Za/i6vuhb9CshYZ2ah+GqsjSBUCq/PsehXcTp6y6MxyFfUUF0JusbMRWr714t9h3dMDdpJ8pP1d9EQY0jVMEsc2Eln9y4jMKEut+JIJYo5TYV5C
   +5T2kqiUEpFSdAXkQGimTYKnNVmpBAtcZZbZtED7+xUVFAqlcXf6yAKPsinTuuGRCyH7b2pGKUutD6yB2hN5lf4yA6EfvauD+o/VfLDBA8xV4LeRlaakEkK/MfTSFR59q/aIQ5tP7zspMmQe5xRrFzI799FAcIqw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-08-23-48-GMT.mhtml

   Hash (SHA256)
   5d1e1d32503d899f1118d150737f861821bce28045fb7d9fa04ef190d4619c85

   Signature (PKCS#1v1.5)
YienyQEEWA0s5PK0B3ortub5O/ZMGhMbrDz3r01OW51E0oVuMQOt8yTF71cv/uBgf2WFZfK+4KMzxKHYJfJzQeJyFdeORYhnUnDdduJW6C4r/L4A5qbZb7eTPz3/gK/utNj4OqbmC2ubNntBsztgloGrQjsHiaHY9QqdXbvVLEPHNawtzRIdkhtuDYXVWlr++veUNKI+Qqsh7sz4pgy/
R7ghuiHouYPhvApEIjcPSKIYwXsBeux6OWHR3aHG/IdGheZBUiXW5aW7YxFRTuKDuE9GGu/OCqcdcnT7BSJEPsZKCvGCsZM/gknQe6Fn7AXecDshdahTSGFAV7dghv3UHg==
                                                                               Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 9 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: TactIcons #23 SWAT Rainbow Police Smiley Emoji Patch… : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/TactIcons-Rainbow-Police-Smiley-Emoji/dp/B07YYLYCWW/ref=sr_1_128

   Collection Date
   Wed, 26 Apr 2023 07:45:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZqQtpebwZx3jJAoVpvl1hfMiiDKsmmYCiFInHHySO2IKcq4jDzn/n8QPqvLiZw+C4zfNHKaC8p0iEjyL8D3mRPIKntDBgPFcLKy6DPdrG1Q2bhL8AirnHspQbcHd3fBXrQYznvZ12+ArEVova3YMLbgZkadOxZiNlz+dSoPg33w=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]TactIcons-Rainbow-Police-Smiley-Emoji[fs]dp[fs]B07YYLYCWW[fs]ref=sr_1_128]]_Wed,-26-Apr-2023-07-45-46-GMT.pdf

   Hash (SHA256)
   6a3e65098a69a8365e0a79378d0abd6dd15afcd88c88777dc4a2cc2078fd4e58

   Signature (PKCS#1v1.5)
Vj/rz9EqrO6Ec25muzngbTdQp0RAzQXNxuXW7VFjW2YTfPFocjCMIM/itlEHfPl8ml+mD8/rwmbnZtomLt+s17vSiF4SFnuSv/0tIFViML83J/oUXHmROXuDytTxVyQ9gB8UUGJHpmocbpp22mMv0eU1K9PbNSobogPtDwwaS6E=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 10 of 38



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 13:06:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YUeSau73CvkhMaWlS9QgOlAVcTULZh1QbQsdspaqeaO8y+MMAKbZKZDHHqVvYoE/L2yKujfyD1UAAv3lE68h3Nk4NuVD+36jrBcLxUSulFzKvqHhTNxHRjB1BUO8kfyi898/aF8elWjVkOsojii5ap1DsLRaxPZXO/HEpbjr1/Xaymi1Qq3GwHv/0WaqbK3jp1Ryh8DSTJQbO1dOm/Lq9Le8P
   +LrJe8qgPkN26hKtCY7wXOguzC0XZmqzqNEhaBViRTrG4Mmup7qtPU5cqGIb7caqJbG084fAeEkYjDKzcv+GO379Xy0PXbYjZ7Hne/beg1GV1+J9AfPvaWdVwgPoA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-13-06-09-GMT.mhtml

   Hash (SHA256)
   31f582b555f0aff120363434c4af180be887fb9f32e480e45faaf2b73237fc82

   Signature (PKCS#1v1.5)
m2g6wQiHOuCo68z7Io/2dtF7xGYpKoGr2Vpu6UDehKpxQ0NIUIH4Zd6d1wvPXLwt+WZ28C5f1tCIxChO0DYNXMrUltwpFXRAFrBUaAtwhTLvNem/KLfxn6c8Zb5i8h8QQIV6FxQdQNs8T7XfIwb3I53IbFHsMY6Z32ev/ahdxKfkeoV4Lfk5vcj2QDHhC6VFFs89lrH5uMU3Pag9gzV7Lso8HJaC186/
+k8bBwTSYk6ByxUQ1CKJrGx405VCnzSq5TbBWV/ifNZ0J0E2L3NkYw6wqlKHiUWq9Mkn32rRcZv68ybmNluEJvnvhqChjLt+Ol9QNP8tWD4SV8i0kq2ZXA==
                                                                                  Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 11 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Earrings Dangle for Girls Smiley Face Charms Jewelry Acrylic Sun Smile Acrylic Flowers Drop Earrings (Orange) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Earrings-Jewelry-Acrylic-Flowers/dp/B09TQX1H32/ref=sr_1_28_sspa

   Collection Date
   Wed, 19 Apr 2023 11:42:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Kv4CXtcESDuQb+r9J7BooKj6Z0PHL121xnDvkOXiwc9BRFg4ARfceuwrpBAX5xlwldoyQR+Pv40RPhbVhOnjBGx/fUSQ0auUxlSJzW219qcXOGh1505Ak3cwBLEsvjLeNVgG+PPlFainA+rXRGcboTYyQ/S1NOY5o68D5FcF2OM=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Earrings-Jewelry-Acrylic-Flowers[fs]dp[fs]B09TQX1H32[fs]ref=sr_1_28_sspa]]_Wed,-19-Apr-2023-11-42-04-GMT.pdf

   Hash (SHA256)
   9f5799011a077718f25ddecf6956f578efda13b62117271474df2bb983d72b47

   Signature (PKCS#1v1.5)
oX3QYCggXhzS5JBFryYkDDIV846kerGnrq47pGdOrizaiK6tT7IVBQdNv9JFXInB1BSoYtq8dq0DXKrLDjvwP6DmunAncq4hV2C+Im6WHDxJD42Gb+6khVet2pD8BpR2axmrzopQGLH/JCzEd/ei1cx5CXDWpA0zo1OUwBsrnsQ=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 12 of 38



                                                                                                                                                                                                          Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 11:04:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.99

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nQHXxJoyxCtkrXNynQYQBXAwzoJXvStOTLMdR5F89VMeSfEmlPVeWolz2FzqPM7PUu8ZIyh7kuZCOYUmMhqHk9IfUo
   +8TeOmSe7AXEPJKzQkR86zvuC2HprExokQSo/0oAMXtobpsZ9m5VB1eIuKBOek6Cr3lCrYsieD8zoWc6A3LqmXu2n6ewkr6M4kRuI8wxHkwFkxm9JAO0ZvB77wQbILhHkBxHJsp60HoubMmkDiVdpiOrQVzVgaNUaYB5nw76P/H9R9agceVYJ5+AZIXie0VcdaWqBK3vj/1pTBuV/
   f2tDcoOsZFLQQQDj9Gc2NM6LdG8825/btfKzlYl50jA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-11-04-32-GMT.mhtml

   Hash (SHA256)
   45a469b6b377b4f7f5d90729751a1f47cee95a26f6f5629d7017cd38e5ce46be

   Signature (PKCS#1v1.5)
McKehaD0WklmTinHo5a2Zmi5XW/LiS0bejrdqDWKk1CSOltWUT/+oYzSUOkJaLN8Bb1K7w9TNnWBI+2ynU6TSqp4kwJ4iFcmcjMZagN6vmQ6wi/8f/wmP7dvOEvplTw2M5jSbrzM1ZpKhh530WZ1hkD7rt/O1EzYRsnniN66me9btlWRsF3pdzxZDieSD1OubQYS8yvavJI6lCkbk71NHM+H1USBC
+Z2eR3swMb+i8W3sRJVoM+p3IaXRd0eGPNfTDphPVzYstq+zL2Qd3JCLVT8zwNzw19MGra1s9zk37WmbzoCKb7faQNuQwL8LZw0Cqx/mgBaQ4hY2KEqx5Dhpw==
                                                                               Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 13 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: DLOETT Socks Women Soft Breathable Combed Cotton Socks Striped Flower Smiley Retro Cute Socks Autumn Winter Socks : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/DLOETT-Breathable-Combed-Cotton-Striped/dp/B0BQHMFWMD/ref=sr_1_6

   Collection Date
   Fri, 21 Apr 2023 09:52:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EY4jZLxV9FWgFk7qwb4MtNQctOpMGi8EHZnNHZNs/yzzaOFI7AH3qXCd5LlARjh3wROE3BXiTFLJKMdAAWrXzyKnwfvTYp1wpBojTu7y0ykz/3q95obZHIUYU74iy3L7IgiE0uRufndIKXbhi/AL0Ml67K9B4cmuZN0xwrKqi6A=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]DLOETT-Breathable-Combed-Cotton-Striped[fs]dp[fs]B0BQHMFWMD[fs]ref=sr_1_6]]_Fri,-21-Apr-2023-09-52-18-GMT.pdf

   Hash (SHA256)
   46e5874ef90b28977e3109d6652acaa4032bde3694a572f221430a35ceb208ad

   Signature (PKCS#1v1.5)
RuEQaEHZRgFz5fv2ctLcOuosfKaaLDt4aU5MfqUZkkUK/MVsa3FRlgHQMO6wQ4Jx2lVbrKS+fWYtnD5fbm9Dn46QHS9zMQJ3n1T8Ko2aOW3t0vaGiT/aNG/48nzh6rUbWiy0FRfFLWztLTkEkV9666uJnB0zTgDpHbpz3l0ECNs=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 14 of 38



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 03:26:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CruYm7hBVwuNwVLszNHR5/EYcbS14Lq0JGUFo8uZm60DTuCNTxgursA4TOxSLBXuz3GR0kgv74a4toLIvmM/FVrtbDTFinDOVKt+baMD0620IAp+W2amOpkdDZy4uAeaizisJH8Y7mNP14s+GBuOwm8o6oLoRpdM5jI6jOo646tb1/
   G9RpjwYbME5wQhjiO08dJ02FCIz3M2CRm5f1Nq9mp4zf4R87hvp9CgcYjong7sxLmC6qjTRGObc4hW7V2tj/fAVAV0U1/aZOz2NxOJrv6ecT+6pn+ZDgqSgfsZgY8P3+dHkSVo1I3H1XgDuqKZmxuLPoMPVw4Gu03oiK7xfQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-03-26-40-GMT.mhtml

   Hash (SHA256)
   8ffa7aba856277de392ec57895cbc5e81811169b81c47de57b88236b06d9253c

   Signature (PKCS#1v1.5)
CcojJfxuFIsDyrs+MzhsQ0iO7+qzqNKcxOTWHRy1C3e1TgAiXKNvq/JyPXcLdaOj9PhW9Svt3H6dsKK0nfVfn1vI5Mg1DXjPObn4ac7CPBVOVfvVHWx3q+fKJVSfLQP90KOLdCqzyKfGRsHUwF3Tpy0fsvzXHhhfZZD6mRDs9nROviIG9QukwVA98D4IaGg2vqdIQvN1zUaMX2mT+GvtA8YaO
+gIiRFmGC//uGhfeCbF2i+wPHTavdUABfTuQwYoG/4jitmlKouicoCrG8XGwvNwTfD79hAHn2aJZ19OvR5tVAmF3+fVPC/H3xLcY5kDj0tp6a/YsPQOcXxEZbU9JQ==
                                                                               Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 15 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Y2K Smiley Face Glazed Flower Pearl Choker Necklace Bohemian Handmade Necklace For Girls Women Wedding Birthday Anniversary, white: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Necklace-Bohemian-Handmade-Birthday-Anniversary/dp/B09SM6HJM6/ref=sr_1_242

   Collection Date
   Mon, 24 Apr 2023 06:25:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RsLLoSZYqqbKkhxKKXTU3NCo7Uxx3AwXwAJ0VFQVwf7is6FM2Z+stdaPE276zUybG2OqASXH5NyrwfzetV3VD0rKHUy1RzR1TBBQjnedEYGdRmNyGGZBp/Yvg7zCssP1jX4ZVwy5Mmx+P9VpeTicmbG1Z/1t/HGdsfFpeuSld0E=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklace-Bohemian-Handmade-Birthday-Anniversary[fs]dp[fs]B09SM6HJM6[fs]ref=sr_1_242]]_Mon,-24-Apr-2023-06-25-40-GMT.pdf

   Hash (SHA256)
   6040344d5baacd69996de988407628463bca6008df332ac0494734c6273161a6

   Signature (PKCS#1v1.5)
I1zDlKyxdD/5ys84WJUDPzMe3e6ehxbfU5EnvYKlWtM3D0TMlvS2LRCiIFCWTQmyB5L//V7rVXAdK6tsYshXLqgkDrmhxStD8pHCQpXqv6l/XJEjggCNHtxDlKSAU6BFOQdH67N4QjlTeIAdXqnZkbqtJhYzTZqKL/AFdmoZCOI=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 16 of 38



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 14:27:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OhnJ4X7HVhsgto26hNeSZQz8AZiKsCLrJOMRgfNsnZSIifwebe7x0XiVoVCo/V6Kfzh1p3q5ZmT5qZgZ6BrhooEbhxgLRSExxKp8fLkb+KkdDYGZW5Vr0HVWLAxteitjmfX7ReEPIevFm+YGOie9k08cMb9RyQN0jb653q9VjVpWNp/uICJSnaSu+Z4UGc+soJCNX8PuO0k7qd/
   osCaDuyIhOdbFNMre4KqpRiEQFrvtbLbOWM9yQd32RbPtP/RsJ/hmiXwITzdeXPPDvJwlbJITCu0fNwL1GN6fowZvSvvCT6Ssp3Cpx/X62wZ71TKNkOd+fobdW03Np9z2Pr+9eQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-14-27-06-GMT.mhtml

   Hash (SHA256)
   7edb2f93eb88dba1da27fe091d32b072da17f50b66b77c71a97bf24da09f246e

   Signature (PKCS#1v1.5)
TkpccXmFE3UZAC8nhxHVQsFbyetuGV3B74c/EIJBqehtx0BAwbBa699ciCoHul4vVuBfNHIjBtf50Z9KYZTgD0Wu7QEj5YVnGXUi+EOAWrW9N+FI6FeuEmOR5pmbi6k4umYo+q1KWwJYzKzsGorpk2vqUP/Pvta6GAvEBR5r/LfH23TnLubOV7KoM6F3jH
+rYEBQ12Spt3VvZZd8tceHYSppw4z8Xig8Z/YPk5icfJGPvGuf4nL0BOk+ozGVEW+ii8LkGGWo3QFplLs64coiJNJxcMvB6LhoyN33Bm1Mv+fRYtElnXDkRzGsC8xXeBoIdQwANXyk/xpBp3AjlyEUow==
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 17 of 38



                                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com | SFSGQZTZ Smiley face slides for Girls and Boys,Smiley face Sandals for man and women,cute slides for women,Shower Slippers Bathroom Sandals, Extremely Comfy, EVA soft sole | Slides

   URL
   https://www.amazon.com/slippers-Slippers-Bathroom-Extremely-numeric_8/dp/B09YHJ3LLR/ref=sr_1_185

   Collection Date
   Wed, 26 Apr 2023 05:22:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   d1nLr0xm1m3BY9VtG612tKK0ggfZN4A1B/LpsYlPEbZS3ttYWJifXK9k7dMVGWY88CP58qLLcUQk9XmAs1lahK3CTqeSjjageUNr2M9MWKGLBV9CnXus5jgzC/b8EsK+4kylfgyHgOsBZJI67RqeYfz0+97DnBR0kelDCA1WoWo=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]slippers-Slippers-Bathroom-Extremely-numeric_8[fs]dp[fs]B09YHJ3LLR[fs]ref=sr_1_185]]_Wed,-26-Apr-2023-05-22-23-GMT.pdf

   Hash (SHA256)
   062979e57a51de75da9488ad4b482f703b15b205fd44d012d6378acc2c0419d2

   Signature (PKCS#1v1.5)
W4+ePS60QoTpP3uHfDxyG9x4bF14ahwePkl9yj6CEQQQrRaRnPG/yFkyuqkjGaEeR/S0QWWvdRu+3VKQtB5vVTnTHJnI4yGuU9OpOLFIDq99KlP2FlGRjZCOXCSEr7BNXkrlvz1YsfvFxf3qYETmCGiGY3Qc9gVQSRXJQskr4o4=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 18 of 38



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 22:55:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hWxA4CMg2oumIe0toVpCkQswggjS/U24cmaLXyFfQU04y+ic6KGKgMyx1uV68w0PlPxkZQ4Ef/6JusUlLJqsw98F/o8oMO0ChKcpq+Qpuialaw2DjqSnOhKLVaLYbrr16tiQkxnfoGpEYYyp+44kbDSOTe/qzbKwHRVCqIIsFgR6Nldac3/zi7RbZzyVVkvw2bxmT9YP
   +IxQ1VeQuVmyv/7PoIUthrnlfWDO/hKGJJs3gSBg4tSnNKZEwoSs/qFbRQuk2IZm8Uzw6MfPlU/rjJRJljPio9Ft8NVCfmyNElmwpb9vYYeMeuRRkfni2mVQ0/p/d6KtnKU6A6QBnfKTlw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-22-55-14-GMT.mhtml

   Hash (SHA256)
   20a05165ea109791ca1a6d01f04c696a334d8d5d7a54d672df2c6334f5542c63

   Signature (PKCS#1v1.5)
bQdsH9bL7WjzVyVYDlZiUbGY7Etm5Yz5tH5az0AO50OhhannI0l1GJf3z/PKFJXXqiBQ9Y18PPGFsnURsKBC6n2W8ax/z8Hhc6C9Adz7GcwTdk7xVc1/LVyWbUayaDj8U9jJY3Os8ByeYzxWnQcPQvXcUIo+bcrQ116eUYmVHlCjgXEMxDMfMqUJIvCIniAM1XanXNCj5S6NxK/
wDyYLttH2ejRCT1O0X8IHKgmIwETLSHk3t/XAg6la7TQCTov/omcO/cFlWv52QRmrWVQFwj12ZEGk9Ok4bjOu4qXv4DxdgUsLYtglJdT0lHh/YPNQfUhBalr/sgBnsV43FrlKAA==
                                                                               Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 19 of 38



                                                                                                                                                                                                           Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Case for iPhone 11, Cute Hippie Aesthetic Peachy Smiley Face Case for Women Girls, Unique Trendy Design TPU Bumper Cover Case for Apple iPhone 11 : Cell Phones & Accessories

   URL
   https://www.amazon.com/Mofreore-Smiley-iPhone-Hippie-Aesthetic/dp/B09BM4DRW1/ref=sr_1_19

   Collection Date
   Mon, 24 Apr 2023 08:24:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oyW3pkgKkfhteg3PYWUjo87o7FYZ5Sdn9RPSb8EpjZnfipbLh3wLF0LPMj5zsYrmiFKilAxz/sB9qGAVE4803ne2wAGopFALFmi33AN41FrCnVfIx8N+V0cP6e6RfEnwl6xa+k+n6vu5NzpMNOWAPQyTAI1VuD0mDppkgT3v00g=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Mofreore-Smiley-iPhone-Hippie-Aesthetic[fs]dp[fs]B09BM4DRW1[fs]ref=sr_1_19]]_Mon,-24-Apr-2023-08-24-29-GMT.pdf

   Hash (SHA256)
   df26a60a345d879d47de6cf93370b319c974e280505505e784454306d6a17ce7

   Signature (PKCS#1v1.5)
pQT8qNUv4zeF+T60ZHXsZ3a2L2EadvC3V+rnR48nGuOH7v1nm3bRVsr5260ElGBf1RBQa3sRAhEgFP50fgDVORmgVj28R07DaNKhznJWPYRFv5Gey2mhoSmfLXlTSny282YEUrXJ5ScV/KUsdPxiyoDoeJFd4XPHOiuswXIS4sY=
                                                                                 Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 20 of 38



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 22:47:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GoHq88CY0WYFwkNAUr6BdqUjEH0gd6PPDBezTnNT7dr8T3frc0Tlvptvakla6/1Ts/c1hm3odBRB1ZdHBcGALvmw6WL99OYGZXQWv+lrkYkI5cYbA4SXzJgoh4xMUeglL5+pAUjipw5cmCYmkxAvI4WBJfHVMBhP+y5n7edcoPR24jVQY8wLb
   +K2wZ4GiYSAlIobSxWqwKej0sQfVDGNBzf2aI8wUWNiv7XAlB9fxpk6DEMV+n/vEwPULuBJMPHCa/wqa5c0RSZK1x12zuY3A5MfxcFUWravIojh+74lTtN9XIg+KdrxvD3g214+sPaYrwYJlAddQa6OuQFPH47Zyw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-22-47-25-GMT.mhtml

   Hash (SHA256)
   63008f27369a37d42762c8788573bef0ba34b8d6b32f31c89efc3c6cfcb34a77

   Signature (PKCS#1v1.5)
NMDPQKe3tlRePu7VzbsACGEKeFiRrlu6AzdGA2mXPFcVnOSv/s8kQ
+mAnK0Gw4MH0Ct28O4cIz0UcGJTvaJhrUe6+9EiDSIHvl2Oo7WjVGQ39Xnsq8At9IyjeWZEj1jAggwGwaSmzKkMLiEZ7NltFqvAmAnwgzh2fbIW0Vjn5SOoToQwm6QF9yfTk2O1Ctus/6wSVTUCq4QLiRf9UUT0PMmHPqq4SXY5n7alaEuz467JQr1sIdbnkdOcDA7vYJ0pN5o4aJ1XjGQnvCzXeGz9B
FIc2RM2xYlkfG8c3bpQdugWQoEXY9PJJ2auCwov1hzbMDvmj5leCpQd2+cJYvjbtA==
                                                                               Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 21 of 38



                                                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: ZYLLGLOW Cute Smiley Face Rug, Round Smile Face Rug for Bathroom, Bathtub, Bedroom, Cute Happy Face Bath Mat, Bathroom Rugs, Machine Washable, Non-Slip, Absorbent (Yellow & Black, 23.6 * 23.6in) : Home & Kitchen

   URL
   https://www.amazon.com/ZYLLGLOW-Smiley-Bathroom-Washable-Absorbent/dp/B0BXXX887M/ref=sr_1_162

   Collection Date
   Wed, 19 Apr 2023 10:29:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MuKVgLxZTzVqFPdRDitCpOoHvhfaqXaaz2FjyzlS5VMtTv8PATDXbhNT8kdlxaYHvJ1KWQqk1DuIl5Bf3EKAOdoaOafWdDE7v3wq4z/r7d1KMpROdg0SIfMk++lAlPBOdJLew4dR4WVd9ivD9tfxx9foQVqZAyD0yWkzstYbrxk=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]ZYLLGLOW-Smiley-Bathroom-Washable-Absorbent[fs]dp[fs]B0BXXX887M[fs]ref=sr_1_162]]_Wed,-19-Apr-2023-10-29-06-GMT.pdf

   Hash (SHA256)
   b863fa1090952179c607b7a26332ed25a8dcbf740bd84b8bfabe6e37ff8a213d

   Signature (PKCS#1v1.5)
k/ptqnGOrqD1a3PKoy7haR/CwxK98SDRmMRU+Sj/4cH0BeGcnH+Y99vpu5RvA7WhbPsT9hhVplQXHatrdI9I0479Mrmr+hgzOIrAZC8RAyYWcmHNYxgMW/4LGNLfjZaVACD7oh3hUnE+8pNbWC0lgyAsyT9iHKvdaNa6jZqoqG0=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 22 of 38



                                                                                                                                                                                                            Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 09:52:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XarvcTMyOI+BTBFjx/yZu9EpQ6hRETS3NOS3PYfZLECooLafAwMSl7SrQfuOoTfl+r7c2yzFYb7xnbwnC6JYY37rx2N0PJnd0laWvSTcIPjWO8yyA+CPdVSCems/mdDmHo/PUEtOFUOBipsrP8A4HSn0ZX/7/eeA1oTcQNWGQFiyawDyGJ/dYu05paCoXVRHyOlObRN9WFDmdrRLMI+rTf/
   UVd1B8wLJXJhoaYVsvjc4ZMk7mGkhSdkwuW5FMyvW7tTSoNsicxR8fdrqTwtn1fgY8LbXp0GaZJrUEEbVUYtJGBy+/KipkeDdF3BXrARXpZaLg4TU84cp1OSR5IVgHg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-09-52-35-GMT.mhtml

   Hash (SHA256)
   e98a78258bb1e4624f3efdd3320b597213d29e231d8e825710a2a2504ae21380

   Signature (PKCS#1v1.5)
CfNArEb9t0sLvX7oXoL6y7byipZoiapGRvndm1hDY5KRtPRqg1gatq0xYdWaK/0mLHZwz77q8xNLb6jaAKO65k1FT4u7zrnquw3Oe9I77xC4OBYZMyIXZ4PsLHrO2eY9YjJGBDFfDUjo1ToDmU+ULaz5WWfsfB7lSlD8oQEMElYsnvr0O0ScZpbGfwl/
llfkWsCGNgzsNy1uAUKyJW18blL1LNlkc0xYljQLd5RuR8uSDhR/pEdNAiixloMgPHjHGvryF8HBhY5ILUhLkoTSi4Ihxj937vPnAJES0w13XMaYhMqMTK62Oqs6JpbXhANjF0lEUIPb7LlaQ0u97ciIvw==
                                                                               Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 23 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Korean Open Rings Dreamy Purple Cute Smiley Monster Ring Women Girls Fashion Jewelry : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Korean-Dreamy-Monster-Fashion-Jewelry/dp/B0C1SF9LB3/ref=sr_1_176

   Collection Date
   Thu, 20 Apr 2023 06:18:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YzLESTigI878hF4TlUFUnEl0g8B6yDPv0omTr9R/hCy1y3NWtl9WWiohMDoiaapgaDKb6uvUgukdZ4ejtNSfSMRbldnLoR7u3/4qeQ8L5j1nRTs2hoAj80qAPPAiLpncwpEqImSP/ZnWsdG2oR9D3/LM6RuR59kdJL0i4WNgaeo=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Korean-Dreamy-Monster-Fashion-Jewelry[fs]dp[fs]B0C1SF9LB3[fs]ref=sr_1_176]]_Thu,-20-Apr-2023-06-18-47-GMT.pdf

   Hash (SHA256)
   cfef305eca6b6479cc5081e60733a1c6ae4babcc565ad260b5484bc595529a3d

   Signature (PKCS#1v1.5)
FtfukJ/cdIvfbbG+lO3CaFseiDZgUgZhweJRFfqA8D0W96uze5vbOGL4hu6xWuN0oPrKjoS8DjUhINfN5caze3H2/I3fOfTnZP6YnQq+03KN8zC613O8a86m1GczUxkE7Jw9pFZUcDizQucQEU7Yh8KGi6gnl2D5errwlM6w1Us=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 24 of 38



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 15:21:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JjHtRcaIAAND73yTviyonrxo0zO9WrGcKehFQIkxY0xMpAx6upncyi+ALJMnV0KMRZD+WO7nPdDKF5EKzLDp5XLcV67OTMPParEX83UPJxTwIDPZQI28fLgB1R1tgkT5lmGeBj4jmqTsQIGWpke2zv8cigQCEl6gBTnC/xlVy0j6+N4oQWDjfn9Xm/JWn3HwAAgGE+8YVHEwPxYol03IugR//
   XxvPokJy4hNc9mfJzBkA3PcwuaTQVdcJlV05dJrJyynnB7tcVPblUr6gr6d1Bd0MolMLrO8duHKsanmLHoGZF/SjQ0GVaaVmUpuolsCagDOmhiDumAE7uUsDf3n7g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-15-21-38-GMT.mhtml

   Hash (SHA256)
   73dac15693f2bc3288c16d778c75dabccfbd4839a5f7cde5066bd3b3912bd860

   Signature (PKCS#1v1.5)
jCtNMW2QYkLFk5so3xfppDa6PMNSBYdoqphfvHmficg6dGlavmxmBzBCA4XQTvVciNOr/pWBbtKMxvsSpXSg6JbRmm0ZV47hZa2y8F65zXYSj/KlwbBsLdeJQqcQsLCCXUW9zwSuTY7ksnPo6gpe0ErCe/P9l9ErAOXGgREuWEj8TEv6SM3IZ0mrxP6555Pm71a7/0Du3c6Y/
a7BpUTIKjsn95GUnsrwr/7IQq4ltyA/JRpjz/UqG9BEkEllNiYyjGGqhpkU7id21u3eva1hs52QP1TqZq9VyEc9LaW1h4zfJ/taELGeiOfXkD1Hw5FOabme+yOYLfwrZuGhgJ6lAw==
                                                                                 Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 25 of 38



                                                                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: You Are Bible Verse Shirt, Christian Retro Smiley Face, Religious Motivation Shirts, Retro Groovy Trendy Beautiful Enough Strong Created Amazing Chosen Tee, Sweatshirt, Long Sleeve, Hoodie : Handmade Products

   URL
   https://www.amazon.com/Christian-Religious-Motivation-Beautiful-Sweatshirt/dp/B0C3QHNNM1/ref=sr_1_204

   Collection Date
   Tue, 09 May 2023 07:42:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WoGMGZGrqdyxWlXGRRZnZXAYGYhbsbXtUhcUnoppRlIu16WYAbJ7tneb256EI4P6stnk+pVAm+mm0jx7/hdQWVeTa5iypCtPXhxHZJ1Gx+6dDt31e30Eu1yXnaBbzVrnVpB0FnYLWVDR2Pecyk7iBgc9pOVB6w31u0PZjuDcPdY=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Christian-Religious-Motivation-Beautiful-Sweatshirt[fs]dp[fs]B0C3QHNNM1[fs]ref=sr_1_204]]_Tue,-09-May-2023-07-42-44-GMT.pdf

   Hash (SHA256)
   188cd2e1763c29ff0379180229cadf93ea71e0101bd4c0fbd5034994f9af233d

   Signature (PKCS#1v1.5)
oFO/F5ZLpSPLsDF1VnKHpVAFjx0bkY7CXEsDvyPXxTFzar+8G18QU955rtceDH7pUZjEHZXy92gDPH7deN6u7rQdoQa2A6sBxBJR7Sdyg/fQXaNVt21mqCvCf+WKPKf/YB2f4I33DLAJQXXnRkVQQWNKEqZiyFR+KiZN8LMjgJk=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 26 of 38



                                                                                                                                                                                                             Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 07:57:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NF+575J4IprmGZs1jZDcTEaQzF/fY/T8Qn6Zf0/LM+4XaZPRdQMqUI0HrUm6ivf7oN/RW7bA512mt777nVAsJmAPZgMlPq06ED17/5IVy3i6ZYna2duE3Y5c9+8dAdLrTh/vWOiucz2oMJpgI+MMmoIjYf5DhP7axtaZ0ChRhV61L7EzlxndNeT09/T4ubIXrRUFYs3T5i0Jh1VFMWrUf3V7Bn74jB
   +K+H89cNE9+naLOMEdhDs5CiZOYwYC9XJvLf4KZrRf922kuW29Z0WMQGKV20v7F0dT4oKl+uCryr5C2E25zgFhg8PT0GEbE0kId4dJfmC1YWtcjNheIHH4pQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-07-57-59-GMT.mhtml

   Hash (SHA256)
   1a0fae990f73a38ee8aa2697a6d8e154028b3b1fc6205e8999c7222eca5c1044

   Signature (PKCS#1v1.5)
m7SKaS/x7XcqfT4JhbsNMFtgy7ZVauzrS6vxdAsg3KbfNB3EnBCVfhJqZ/aXbSvLIWvm5/oTXQm5GQKVmmaEGFytkNANTdQJHR7ezlYLT6bueztKorhtPTwYZBYK4BIlARGTxirK0vSQtvki+mdBVldO0mY74tY7+25M5v+7qGa8mZGiC01n+MM/BO/iSdgrGxG5k4Bs+Aaj/
IR3E64r1dfdQyk2jVuCTvxfsek2jEWC6piIKLXAqnuKJLYR3zQxLC76UNZdO+ZQOWnTATIMa2AhmHgHClzM5Dr+xNv6Id1LzTQYwBpNePPSICcVGUT3kT3fQ0QcG3tNs5UANhP1sA==
                                                                                  Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 27 of 38



                                                                                                                                                                                                                                                               Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: 20g Tiny Round Smiley Earrings for Women Girls 925 Sterling Silver Hypoallergenic Enamel Minimalist Circle Happy Face Coin Cute Small Ball Stud Cartilage Tragus Barbell Screw Back Earring Simple Fashion Jewelry Dainty Gifts (Pink): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Earrings-Sterling-Hypoallergenic-Minimalist-Cartilage/dp/B09VL198KP/ref=sr_1_189

   Collection Date
   Thu, 20 Apr 2023 05:13:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LCDeQHZTqLGCOYBnuCwCAWIfIndH5/oEU9Eb1Uu3yUccTeC85V4lGP9miqQ+l3iTRIoQOAgEdn9nRLPITpBVyLlhqN9SZXGwIiweZduC8gOndKXLP2VOKgWqlYpOzyeKPkaVpSapZ7zZHaxp4Eb0r69xFHd3mVgHiyOXHzNwBA0=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Earrings-Sterling-Hypoallergenic-Minimalist-Cartilage[fs]dp[fs]B09VL198KP[fs]ref=sr_1_189]]_Thu,-20-Apr-2023-05-13-42-GMT.pdf

   Hash (SHA256)
   92f923fee5e0714eeb832d9e14b8f3142532ca9aaad3967b54e1d6f619f98c4b

   Signature (PKCS#1v1.5)
l9vpqYr+qayJG1DLNsWel5BA0ArtD3iZvd7gX3rZkn3wu5fuPU9ljULga91m1sysBPB8OSbIUTXfvEyyWxOolWDM/fsL/kwI3ck9x5UokwT/XKAYBNSfqJd7DKEg127WmdYFpI1eF8v0KQQjUVQZUgtC1b6jLhiEy6F1L3DTIhk=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 28 of 38



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 13:27:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ufx3vdadb6ojbW3hEsWSjdrqOVhXEtUSw6TsLC8rl+rgNTDzqWxYZbkza+1KXEPb8pEqkXG2v9FmXSzBDTjpnrCrrKIzuvN4QecvtrvYzd+Lhj1SZ2mkOc2yrIKJ07zUmuy9xiNZx+kScjbbqGttnWq8sc5N2tjBYG86Y3iE0msHFApYpgMvqeE2OCSrzpCV5cR/NXmo
   +agFEAho25+y0veE7UOuss33Bd92zV6bc+ZYzSbrYy/R7lvUkNLfhQb0A9BwbqlCTvudI+eCsRmXUfA0ouIBn3M7daXUkxEgOJpuiKP7QPWqeLwJk7fXPCHSrOX9uNhX7yDg9zjzQmRh9g==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-13-27-49-GMT.mhtml

   Hash (SHA256)
   cd9ca6faecda671ef318b0fa74456451a142d1e66915fd8f090cf8ad8d598bc4

   Signature (PKCS#1v1.5)
pFaukaleKvTOtCvzqli5WGlViGyacW2hvyT3O94Em8Iih83TVm6Qf67AuvdEKbZYx6m0mh9k+VaYaystSanf3c+/Fl+saWiZyr+FCCQZGPg4DmcNB25SPmkN3ZwED+nVW8EKgAiLosou0LbTUNFPHgs63k48gk0xuJmlKzQXarFqmaCRN3UjycRFgr+fpy2KjiFTwMTPVBp0LCLjiEhIrPu
+DyKQIySOjIdFzksJfhGow+yID3JeQJNKeRIU7ys+pgNHt8yF2rQpNBeyF/Jq5HyLisULmoJlv5/Okoa9OjgxfWqXS8PNs7/VdqjlF/PUnB8qeccpZLDa8CU69XtOnQ==
                                                                                  Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 29 of 38



                                                                                                                                                                                                                                Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: 53Pcs Smiley Face Stickers for Water Bottles, Kawaii Aesthetic Vinyl Waterproof Stickers for Laptop Journaling Bumper Scrapbook Skateboard Computer Phone Stickers Gift for Kid Girl Teens Adult : CDs & Vinyl

   URL
   https://www.amazon.com/Aesthetic-Waterproof-Journaling-Scrapbook-Skateboard/dp/B0BZDX5MSW/ref=sr_1_54

   Collection Date
   Wed, 14 Jun 2023 09:13:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   M7FG6emU6h39f6NX2pJHSPn/QL1TrXFSfuI7e0JLRKPJ9tI87I544WT8p2OFVRI2ntWs3YSbRbXEl8lLo2tiS0rzQhVBMClWA9yDuZdUZgQjnvUtO/pXkAtZYhNlVoNLDClD7wWEKrSAr/e56dqNkWOlGykqG4v1c3JL6aV4Fus=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Aesthetic-Waterproof-Journaling-Scrapbook-Skateboard[fs]dp[fs]B0BZDX5MSW[fs]ref=sr_1_54]]_Wed,-14-Jun-2023-09-13-23-GMT.pdf

   Hash (SHA256)
   de71ecac514b7f68f0a2dcfec6415cb74620bfcf08ad50887b29deecb41ad6f2

   Signature (PKCS#1v1.5)
q0Tsx5K8OIvwFIJ9uUa6JFW2k1riZtp50DY5Fl2yZnn7G05RXV3/QeZ967xWlwk1t7ohy+rfjblrzmYaZvd2TwGdPL3zIdhzLFjkLRnN7hG3SJfi4QCKqCCRL842ZWKA2NhkpMj7ajP8JZfl8pNCay1tPTN3Tm3Y8jyPyxuTQs8=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 30 of 38



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 14 Jun 2023 15:40:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.131.66

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GD28EdYIhiPwO1iPv9SjW1V+9lGQDciyNV/XrCcJ0QXKAecLYI9K09O7GL7irYVhkeutmguwGVTFdnIsN7Rx9jlIigcw3joZuu9hEUwC+igSYGkNwkW1sEQOejT7aG25uqZj4mEpm9j15VsMDISpz3U63XS8UQiyiMU449+VU2Sq5mW+bPNzQ3lghUs7vdICp4AVFUFTUtiDDl/n3zWrhfMD/
   KJRcYu9wmmblLZe3Mv5iZFPr7OURCXwsfGzq34k+WMdMRM1TD+Vuf6nvbNn7TQEnFIOQm7EmsMhicAiiq3ViBgD2nlOFbbJmTkqiR/zHOIEXlXBfdbOfQ8G4VZw3A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-14-Jun-2023-15-40-43-GMT.mhtml

   Hash (SHA256)
   cec2b7dadeca71168fc9700347071e56f1c4aed70ba9cc31f9c03d2dc58738b4

   Signature (PKCS#1v1.5)
dN9mp1MuYjCPHt0fdziN4CZCxEvZEbWeT73oSITQ5BNEeaZokRDYSp0dPYOuyGbmTsazczPiESDfTA50RRqm9Ba0fa3Xr1dzRDqQC91gRxjp7GR1mRlfZcLl0YCVbt7JqXwI+OFzih6I3nGXe/FGoOec4JcWNLcU4Lgp81I/
MXdfRfeflFe/5meEbXChpmxKhK3YGyChvehcZRSArBKj1pgwr5nSKqQUErPbz6jJ9pPZpGp+Yk26qjEx/zNrCmoDzJ5RQLqPFvJ783Ji5P0S/4h7XDFSAsOcqTF3hxUrk20BE6/3+lB+15VKpCcA3gaCcjJqYUFAIsK5rDvZ8H/KGA==
                                                                               Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 31 of 38



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Pendant Necklace Egirl Red blue Cool Smile Necklaces For Women Men EGirl Boy Punk Hip Hop Rock Chain Choker: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Necklace-Preppy-Jewelry-Trendy/dp/B0BXFKW1TJ/ref=sr_1_20_sspa

   Collection Date
   Tue, 09 May 2023 04:53:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nNR8+YCtrCjuK9fYdGz0lMCaX6Kofq+OXJO+38qvZEIbl8Pe0D1aFjDVo7MuAk6KJ1AzOINKETY7sU2S5xWy/o3P2/6S4NP9JzCZrs9vrYnAC9PSbAY5emp2gbj6LiCqSMK96vHXiD9/jc3MDnDOyCwaBsYZRbbiqNiERxd5rn8=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Necklace-Preppy-Jewelry-Trendy[fs]dp[fs]B0BXFKW1TJ[fs]ref=sr_1_20_sspa]]_Tue,-09-May-2023-04-53-34-GMT.pdf

   Hash (SHA256)
   6238eeab07e271833bf98f19d36136cae465116eb6b61728827b6039bb514cd7

   Signature (PKCS#1v1.5)
OtFygw4ceaO3dEwLMlpKOwz1pOMOsKY7/RvaRoaV2yYFOOQ3pMfnISohJH62pOMaaXC8uzupyMAOmIqPd9ZSEDsi3oiuWSP98Cw7An4zvaTmOPgZ6Pe9kUREOQYcruEtYRVPIYIbNOb8QJMxhxnDlW7AB7TFZ2mwDJUl9qrQeug=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 32 of 38



                                                                                                                                                                                                           Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 11:24:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.99

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Axsi3MdXX8MGsU6hBDuR3kYUyFp1xxsW2TWXNSYw3r2X6iUZeZNs/cE+fVeLYZ3OGZOqfwq0+SHGnbs9yI2S/17USwGJLvc+VMjwWby7I8Ya4TlB2Sqjm4brTWOdgoquqTYzYtG0AqpaUhSQpB7PrfoskB4eXShtNq3lK6ljVTRwWx/CoeZF8nbGsYYEw6gOdInuZv4T8T/sFaFBaK8/o
   +BCS5a2F3RKGol6U8R4gpvWhPGZFbevlrSlCkQTJtB6lvZlGA+6pjAGEDFfWYhdfnoMDBwAm4rInxbgP//JIh3moelgoMT07NevKaDROS8S3WbHSBZgxQnMas8KWywweQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-11-24-52-GMT.mhtml

   Hash (SHA256)
   6f39ea71bcb3bec88ff0a79ae1db19b2a1bae187ed88efe09bdda14b633a13e4

   Signature (PKCS#1v1.5)
srzKKvrASEdRU95IVkPD3yEQ0IiE+59BiuQR95w0OEV5Krc+xNOkIu+i/RrXs8VskH++TypJ/o8diiM9hHcf+odgOcnaD+XZswl6dIvZysTgXlI+o8WFUFPUeZucB/P3frS7Nv9Y1u6rXy+ika0he3FekNCXlfzaGAZmlZFKslWr1JCZ8GvGHgLCGo1jXmqdF/VZ6WbW
+nNpCQMdBrYWnfnLHF0RhvMtMocVqtiuJRVmPvmMJzgH9w8jP7IvxlpO71GjngvOKyY7Aj07m6YbZDB8LP7oCRQ/DQuvfeeGj7qG6MzrzD2RnBqdsyyQNf2cfxtIEDGOvKWOBKqM8MazIg==
                                                                               Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 33 of 38



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                                                                             Evidence Collection Report
   Page Title
   Amazon.com: WALONER Makeup Bag For Women Preppy Makeup Bag Pu Leather Waterproof Cosmetic Bag Girl Makeup Bag Organizer Cute Portable Smiley Makeup Bag As A Gift For Women Or Girls,Yellow : Beauty & Personal Care

   URL
   https://www.amazon.com/WALONER-Cosmetic-Waterproof-Organizer-Portable/dp/B0BX356LMG/ref=sr_1_208_sspa

   Collection Date
   Fri, 21 Apr 2023 04:58:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VlWOwMgiFFMQqpDhY4fG6meSZgYZbzeKqNngoEFPa1oRe3V2ugAW+Se25/DXQh7UK1cd9UXtvdO+vqOpbMVBaUZCYyN7VSdWUVnwB6nfB07MMg5J9bMp1QXtzQLW0xs7YtoUxc5irlb8i5/C07MSJxWho6P+r4LqBbpJek5aj3A=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]WALONER-Cosmetic-Waterproof-Organizer-Portable[fs]dp[fs]B0BX356LMG[fs]ref=sr_1_208_sspa]]_Fri,-21-Apr-2023-04-58-52-GMT.pdf

   Hash (SHA256)
   b0b618701d222336811c64a08be6e3cec59738c7020248b3599cb35bae3df2c0

   Signature (PKCS#1v1.5)
lKsgPkr+2W8bqLZTd/mWkS8XjzgEAUfoiP/NweR59a+NS+nup++PhwYQzJuXCyNsBky5dwkjBEUKmWT2NKbXAn6I8YXbsKcHdGJ3HXtqBdMm0Dd1QzsGR7gJcO9QQxE+mzDEqHFYs7UbFd5RtqoIkW5yk+zY2uDadhN03JNI2Qo=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 34 of 38



                                                                                                                                                                                                    Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 06:57:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EH5YqrX+DIUyigH3mq+tHLUsmoYx0AG9PZgo/bALZFEv0+sJWqScrm9Shlo2O4/1Y47CXkyRXvWUW7P4m74SDGaaw73NddoCXdXS1a/hwR3W1UWCKZuMFJfycsX3FFbkdEUq4mfdLK9RpExAt19ZEhdje51PEALz0saV8p9O3lcJCg6zK7UrHN/cVYAcqo
   +YlJ2y8WhX6EMNH8z8zqgsl8AvsTZqLIaF36fHDPD5AXTxkpab2EMcgsjSLNK9oEjlM/ktjwyoc3smySiciNxCizWBjL6wHNHDYhwVWeiDr5+iGUA9Q1r1mGt/+JJYe+CWKV0gjr6gNuILgNDebDv82Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-06-57-43-GMT.mhtml

   Hash (SHA256)
   d648a9d6e8bd9a04696dd6be01d3e30ade84c78c68e3e945443d445fcd9bc2fc

   Signature (PKCS#1v1.5)
dZukjNppTs6/gf0j9E5hypSGtVN5rSgQNRs+OiOXXVJ2H2HB3tAMzEW+H7JV0uSFtTmWvA8kP7OLea/J76LPHglZD15pE9TB/hq4QPcCxATB8/
bATDwua3fTl6jAyF1k07ox0rSbJc4F1Ll1BPMMgCUP9C9xkCnVDlVFk8ZCiLMHRqkdPQFhS9NCLqjW7Ta8BSaUEbQxBBJDm0zNAJuf2Icz6l4a4RtyrYReC6sSxzoyYrtNe97d1RROOdLBDLxUMzc9atIZXcvuWbvbNN2R8g4Yf235TGrzgKh1NSJsTigP
+3ZMukGP2J5ta1OZfKo5ND7ugFUBYZ6e8gScnUGVcg==
                                                                                 Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 35 of 38



                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Earring Necklace Set Colorful Smiling Face Pendant Hoop Dangle Earring Paperlip Chain Necklace Jewelry Set for Women Girls-Pink: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Earring-Necklace-Colorful-Paperlip-Girls-Pink/dp/B09F5TRT2R/ref=sr_1_98

   Collection Date
   Wed, 19 Apr 2023 11:57:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aM3dStDX60smUTotd5fnu2tRiCLTi5flqTzZMmr+F03mTAipUcKDqZODJK8j2gNMi1s9AAvRrdNQpij4epmNFjOrNCVnd617X8zhN9LXO37vOgeLJ56oU/raMV1Sf1CUhDXgA7QvtW9p8JALjYQDvBJzOCDHFXEB9zmaMYKmWGs=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Earring-Necklace-Colorful-Paperlip-Girls-Pink[fs]dp[fs]B09F5TRT2R[fs]ref=sr_1_98]]_Wed,-19-Apr-2023-11-57-25-GMT.pdf

   Hash (SHA256)
   9112f3cdd791181bc9710f6dc5ff8f6ba5350f6fb90f24c976db22bad9bb3507

   Signature (PKCS#1v1.5)
nTOc+BNcjt2wKmp/q7bYfWoXHDK2i6jhtLyX3z2LGkaWQoP7HtPpTSdKgP1hvVzYjOPzsqAaIOeXn+rGYhtRwH8XqLdNyRy8Wn7ceXBw+YBQa8m54rCKyVA5MD+c8m407C4QXVxiaNdHeg4KjjtgDGnkVC3rT+U6vTrAvDFnaMg=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 36 of 38



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 09:38:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OWMWS4V7dWjAVT7Vtk4uCuWr26t8bI5/fYwipJJeG41AdhlKQX5/9YVWT8r9rsbgo9lWrmjz04TJlCxhNYk3rdVBa3nW7mpeDqaSadnluWzriv83F4DlktJT3BR7D4oQ+7qEOx6dXFGq2F3kwzRHbF3wnLqdAxXUE4I5BXzOQx0Zi8Yewyj4B+cHoiRBN6Mx5CUQ1zF3XtjWplvx//
   zrlbYMW27hnvASlGW1Ur/ye99VGpPktpmdcX+XfRRW0pP6k47/uEOHCb6RLZmJ8z0OiKhwYFubuO5o0c3sJWoSTBHK6nj2I9nR3ii0ySxKe4AaA85V43ZwqQZtewfPgV1/SA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-09-38-21-GMT.mhtml

   Hash (SHA256)
   39553059a6a3f3815aed95747a4ddeac983382c5a6e4c86bb2c9581d4e1aa33c

   Signature (PKCS#1v1.5)
oCpndf95loFp6MiCIXrJx0WFGXjEfTMkMRPkLzgdjEqKtmotQ+gEmLUhr8OuP58lDJqZNzDnHHVGEmQGfPPTqmUhuWolFzr+kZT7D+UNx+Gy2CxUZoXqxDLe4ExjsCT8VKr0NiuKwKLuDQ6w+iv38EmQXxH6EsGRcA0BJQGAoJy1MLN6IoASrLFsRlWKqHKAtOhEvZiiacKHvS
+Iq9BiRJiM06WlPODacnXhF9K5q9L9jei4MEswd7+UK7R50Lf/lP2Th92JGpoiziQKagD4Bfu7+avAbsZYKEUyn1b5SwDc4M8xT46gY8SamkZTlSv9uR5uPER/1pYcA4zuyYuL6w==
                                                                               Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 37 of 38



                                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com : RAWMAT Smiley Face Beads 100 Pcs, 7mm Happy Face Acrylic Beads Loose Spacer Charms Beads for DIY Handmade Jewelry Bracelet Earring Necklace Craft Making Supplies (Yellow) : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/RAWMAT-Handmade-Bracelet-Necklace-Supplies/dp/B09BJ4M2WW/ref=sr_1_196

   Collection Date
   Wed, 26 Apr 2023 05:23:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Jn+x/Mrx9n0WLLPtDF/J+wGI11QrwdbAfjG27U3j70I8HN5sAnzX9+d1Z0vVu0MbDmIqqttHVTFlUM22bDpWdxJ84RAC7fAF1BXT45m7zStSksF0mElvgY64E5nY1qyQrCrlPKBTCl6CfjI2QpTqIhKMu0ESnldmkNtcqPaVEEU=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]RAWMAT-Handmade-Bracelet-Necklace-Supplies[fs]dp[fs]B09BJ4M2WW[fs]ref=sr_1_196]]_Wed,-26-Apr-2023-05-23-13-GMT.pdf

   Hash (SHA256)
   22db54b00ba5b8ca35979632a12529514fd882cfd67d0e4e0523b888b4c4e5f9

   Signature (PKCS#1v1.5)
INnV0WqYn8T4R9A4HoamHBzxni0gemguHp6sQziTBXLmp+LdViElfaDfqBySb7EFlW5/ue9j3t12oWame5Fu4Gp557ST/5iweXWSBLxa16l+Mg+T1Bm3GCEzuk6JJ8HwqHNfFfufK+nDP2WRkrqe7XYUqS57yZ7WARs84mNys3E=
                                                                                Case 0:23-cv-61203-AHS Document 38-5 Entered on FLSD Docket 07/27/2023 Page 38 of 38



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 23:08:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fjR892mFSet20JbrWd0+HDRY26eAZ7IyQK5qvAIU+CT5kC3dsXeNplm6/muD5BnhkM1LCLKagxJ/RTDZNtcDig6/xBenq6khBsgODJASrQwgnaEYJ2k+PdblVVWZuwP4qs47jrORGQUAQobmHxzecUE8IkEqJzrrGEkgmrRLu6QUfU3L+55/LMHvi54K9iD2lQM6TBjtSBfBa4OGkLqLuCZJ/
   vuT1Tu8s2LU4h0hjMxZdEcGcOnZKHsrdWkVsaQsHJXJfFSp+LsKVnbE+zxLlJ6+HUAUYeOm5CDwQSeO6/ps95rZm/hWHkujWlniBIJ48B69A86GuVTaN0RmRGgd4A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-23-08-14-GMT.mhtml

   Hash (SHA256)
   2081114a679f9141ecde55471250d6ea1365ab7087572acd7c6ef28732ba32fd

   Signature (PKCS#1v1.5)
Ikc0lfxQcsoWjxzsyISZsKx3UeG9sBfONLi6JNapF5YhRuijp7Nx0NtlvpkXrqN9/ZDAgefHDfma5H/IGmp4LNtgE4U6NrY3YpQqRFdGqu8zVHDgtV+wsqx84TcOmdoEFUov0eluXE9JMhK6WjZhMpDmWldr31/
EH3VIvUmjcjOd1nv1G19GcdvYQLJdH14P40SH0B9xPpwN7wWehqwDn9rCNI9flFYSvSlv3Do8F5wflBSdj5vmO9jE/TfDEUfo4+q7CzO8yMacw0m3eS8nfqyDblVRaPiGSjdOmrEcVzmzX9HDo5Q+pkOfa9cGqQLpedqXNZ5iXmbRZyCYQG1VAA==
